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                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )            4:02CR3147
                                          )
                   Plaintiff,             )
                                          )
      vs.                                 )            MEMORANDUM
                                          )            AND ORDER
ALBERTO ALVAREZ MACEDO,                   )
                                          )
                   Defendant.             )

      This matter comes on to consider the government’s request for hearing on Rule
35(b) motion (filing 84). Having considered the matter,

      IT IS ORDERED that:

       (1) The government’s request for hearing on Rule 35(b) motion (filing 84)
is granted;

      (2) A hearing on the government’s motion for reduction of sentence pursuant
to Rule 35(b) (filing 70) has been set before the undersigned United States district
judge at 1:00 p.m., Thursday, November 3, 2005, in Courtroom No. 1, United States
Courthouse and Federal Building, 100 Centennial Mall North, Lincoln, Nebraska.
The United States Marshal is directed to return the defendant to the district for the
hearing.

      September 20, 2005.                     BY THE COURT:

                                              s/ Richard G. Kopf
                                              United States District Judge
